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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

ROBERT CRAFT,                                         )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       Case. No. 23-1081-JAR-GEB
                                                      )
JACOB TOWNSEND, et al.,                               )
                                                      )
               Defendants.                            )
                                                      )

         DEFENDANTS’ RESPONSE TO PLAINTIFF’S PURPORTED MOTION

       Defendants Jacob Townsend, John Linneman, Teresa Glendening, Hazel Peterson and

Joel Hrabe (“Defendants”) submit this Response to Plaintiff’s “Emergency Motion for Order to

Stay and Order to Disqualify Kansas Attorney General’s Office and Writ of Injunction and

Request for Hearing.” (Doc. 30.) In substance, Plaintiff’s purported motion is a sur-reply.

Plaintiff has not obtained leave of the Court to file a sur-reply. See Birch v. City of Atchison, No.

19-2156-JAR, 2020 WL 3034813, *1 (D. Kan. June 5, 2020). Defendants have previously

addressed Plaintiff’s arguments and requests for relief in Docs. 20, 22-23, and 29.

                                               Respectfully submitted,

                                               OFFICE OF ATTORNEY GENERAL
                                               KRIS W. KOBACH

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of July, 2023, the foregoing document was filed with
the clerk of the court by using the CM/ECF system, which will send notice of electronic filing to
the following:

       Robert Craft
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       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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